                                   Case 2:20-cv-09465-JAK-JPR Document 1 Filed 10/15/20 Page 1 of 5 Page ID #:1




                                   1   YU | MOHANDESI LLP
                                   2   Jordan S. Yu (SBN 227341)
                                       213.377.5502 | jyu@yumollp.com
                                   3   Pavel Ekmekchyan (SBN 223222)
                                       213.985.2007 | pavel@yumollp.com
                                   4   Elvin I. Tabah (SBN 286369)
                                       213.384.8288 | etabah@yumollp.com
                                   5   633 West Fifth Street, Suite 2800
                                       Los Angeles, CA 90071
                                   6   213.377.5501 Facsimile
                                   7   Attorneys for Defendant
                                       NewRez LLC F/K/A New Penn Financial,
                                   8   LLC dba Shellpoint Mortgage Servicing
                                   9

                                  10                        UNITED STATES DISTRICT COURT
                                  11                      CENTRAL DISTRICT OF CALIFORNIA
633 W. Fifth Street, Suite 2800




                                  12
   Los Angeles, CA 90071
    YU | MOHANDESI LLP




                                  13   JAMIL GEORGE RABADI, an                  Case No.: 2:20-cv-9465
                                       Individual,
                                  14
                                                                                  [Removal from the Superior Court of
                                  15                     Plaintiff,               California for the County of Los
                                                                                  Angeles, Case No. 20STCV32784]
                                  16   v.
                                  17   SHELLPOINT MORTGAGE                        DEFENDANT NEWREZ LLC
                                       SERVICING, LLC; a limited liability;       F/K/A NEW PENN FINANCIAL,
                                  18   company; and DOES. 1 through 100,          LLC DBA SHELLPOINT
                                                                                  MORTGAGE SERVICING’S
                                  19                                              NOTICE OF REMOVAL
                                                         Defendants.
                                  20
                                                                                  PURSUANT TO 28 U.S.C. §§ 1331,
                                                                                  1367, 1441, AND 1446
                                  21
                                                                                 [FEDERAL QUESTION]
                                  22

                                  23

                                  24

                                  25

                                  26

                                  27

                                  28

                                                                       NOTICE OF REMOVAL
                                         Case 2:20-cv-09465-JAK-JPR Document 1 Filed 10/15/20 Page 2 of 5 Page ID #:2



                                    1            TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR
                                    2      THE CENTRAL DISTRICT OF CALIFORNIA:
                                    3            PLEASE TAKE NOTICE that Defendant NewRez LLC f/k/a New Penn
                                    4      Financial, LLC dba Shellpoint Mortgage Servicing (erroneously sued as Shellpoint
                                    5      Mortgage Servicing, LLC) (hereinafter, “Defendant”) hereby removes the action
                                    6      described below from the Superior Court of California for the County of Los Angeles
                                    7      to the United States District Court for the Central District of California, pursuant to
                                    8      Sections 1331, 1367, 1441, and 1446 of Title 28 of the United States Code (“U.S.C.”).
                                    9      As set forth more fully below, this case is properly removed to this Court pursuant to
                                    10     28 U.S.C. §1441 because Defendant has satisfied the procedural requirements for
                                    11     removal and this Court has subject matter jurisdiction over this action pursuant to 28
633 West Fifth Street, Suite 2800




                                    12     U.S.C. §1331. In support of this Notice of Removal, Defendant states as follows:
    Los Angeles, CA 90071
    YU | MOHANDESI LLP




                                    13     I.    THIS COURT HAS SUBJECT MATTER JURISDICTION PURSUANT
                                    14           TO 28 U.S.C. SECTIONS 1331 AND 1441
                                    15           On or about August 27, 2020, Plaintiff JAMIL GEORGE RABADI (“Plaintiff”)
                                    16     filed a civil complaint against Defendant in the Superior Court for the State of
                                    17     California, County of Los Angeles, styled as Jamil George Rabadi v. Shellpoint
                                    18     Mortgage Servicing, Case No. 20STCV32784. A true and accurate copy of Plaintiff’s
                                    19     Complaint is attached hereto as Exhibit 1.
                                    20           Plaintiff’s Complaint alleges his prior loan servicer Ditech violated the Fair
                                    21     Debt Collection Practices Act, 15 U.S.C. §1692 et seq. (the “FDCPA”) by unlawfully
                                    22     attempting to collect on his mortgage and then initiating foreclosure. (Compl., ¶¶55-
                                    23     58.). Plaintiff purportedly seeks to hold Defendant liable for the actions of Ditech, as
                                    24     Defendant is the only named defendant in this action. United States district courts
                                    25     have federal question jurisdiction over “all civil actions arising under the Constitution,
                                    26     laws or treaties of the United States.” 28 U.S.C. § 1331.
                                    27           The general rule is that a case meets the “arising under” standard if it is
                                    28     apparent that federal law creates the plaintiff’s cause of action from the face of the
                                                                                    —2—
                                                                              NOTICE OF REMOVAL
                                         Case 2:20-cv-09465-JAK-JPR Document 1 Filed 10/15/20 Page 3 of 5 Page ID #:3



                                    1      complaint. See Empire HealthChoice Assur., Inc. v. McVeigh, 547 U.S. 677, 701
                                    2      (2006); Franchise Tax Bd. of State of Cal. v. Constr. Laborers Vacation Trust for So.
                                    3      Cal., 463 U.S. 1, 27-28 (1983).
                                    4            Additionally, this Court has supplemental jurisdiction over Plaintiff’s state law
                                    5      claims which form part of the “same case or controversy” pursuant to 28 U.S.C.
                                    6      §1367(a). Stated another way, “[p]endent jurisdiction over state claims exists when
                                    7      the federal claim is sufficiently substantial to confer federal jurisdiction, and there is
                                    8      ‘a common nucleus of operative fact between the state and federal claim.”’ Brady v.
                                    9      Brown, 51 F.3d 810, 816 (9th Cir. 1995) (quoting Gilder v. PGA Tour, Inc., 936 F.2d
                                    10     417, 421 (9th Cir. 1991)). Here, in addition to the Federal FDCPA claim, Plaintiff
                                    11     brings state causes of action for: (1) Violation of the Homeowner’s Bill of Rights; (2)
633 West Fifth Street, Suite 2800




                                    12     Violation of the Rosenthal Fair Debt Collection Practices act, Cal. Civ. Code., § 1788,
    Los Angeles, CA 90071
    YU | MOHANDESI LLP




                                    13     et seq.; and (3) Violation of the Unfair Business Practices Act, Cal. Bus. and Prof.
                                    14     Code § 17200. Here, Plaintiff’s FDCPA and state law claims arise from Plaintiff’s
                                    15     contention that Defendant, purportedly through Plaintiff’s prior servicer Ditech,
                                    16     unlawfully attempted to collect on his mortgage loan and initiate foreclosure. Thus,
                                    17     the relevant factors of “economy, convenience, fairness and comity” are better served
                                    18     by this Court recognizing pendent jurisdiction. Acri v. Varian Assocs., Inc., 114 F.3d
                                    19     999, 1001 (9th Cir. 1997) (en banc).
                                    20     II.   THE PROCEDURAL REQUIREMENTS FOR REMOVAL ARE
                                    21           SATISFIED
                                    22           28 U.S.C. § 1446(b) provides that “[t]he notice of removal of a civil action or
                                    23     proceeding shall be filed within 30 days after receipt by the defendant, through service
                                    24     or otherwise, of a copy of the initial pleading ...” 28 U.S.C. § 1446(b).
                                    25           This action was commenced in the Superior Court for the State of California,
                                    26     County of Los Angeles, on or about August 27, 2020. Defendant was served on
                                    27     September 15, 2020. A copy of the Notice of Service of Process from Defendant’s
                                    28     registered agent is attached hereto as Exhibit 2. Removal of this action is timely as
                                                                                     —3—
                                                                               NOTICE OF REMOVAL
                                         Case 2:20-cv-09465-JAK-JPR Document 1 Filed 10/15/20 Page 4 of 5 Page ID #:4



                                    1      this notice is being filed on October 15, 2020, which is within the 30-day deadline.
                                    2      See 28 U.S.C. § 1446(b)(1) (notice of removal must be filed within 30 days after the
                                    3      receipt by defendant of the initial pleading); Fed. R. Civ. P. 6(a); Fed. R. Civ. P.
                                    4      6(a)(1)(C). Additionally, venue properly lies in the Central District of California
                                    5      because the Los Angeles County Superior Court where Plaintiff commenced this
                                    6      action is located within this Court’s jurisdiction. See 28 U.S.C. § 84(d).
                                    7            In compliance with 28 U.S.C. § 1446(d), Defendant will serve on Plaintiff and
                                    8      file with the Clerk of the Superior Court a written notice of the filing of this Notice of
                                    9      Removal, attaching a copy of this Notice of Removal.
                                    10           WHEREFORE, Defendant respectfully removes this action from the Superior
                                    11     Court of California for the County of Los Angeles to this Court pursuant to 28 U.S.C.
633 West Fifth Street, Suite 2800




                                    12     §§ 1331, 1367, 1441 and 1446.
    Los Angeles, CA 90071
    YU | MOHANDESI LLP




                                    13
                                    14           DATED: October 15, 2020
                                                                                   YU | MOHANDESI LLP
                                    15
                                    16
                                                                                   By      /s/ Elvin I. Tabah
                                    17                                                  Pavel Ekmekchyan
                                    18                                                  Elvin I. Tabah
                                                                                        Attorneys for Defendant NewRez LLC
                                    19                                                  F/K/A New Penn Financial, LLC dba
                                                                                        Shellpoint Mortgage Servicing
                                    20
                                    21
                                    22
                                    23
                                    24
                                    25
                                    26
                                    27
                                    28
                                                                                    —4—
                                                                              NOTICE OF REMOVAL
                                   Case 2:20-cv-09465-JAK-JPR Document 1 Filed 10/15/20 Page 5 of 5 Page ID #:5




                                   1                              CERTIFICATE OF SERVICE
                                   2         I certify that on October 15, 2020, a copy of the foregoing was filed and served
                                   3   electronically in the ECF system. Notice of this filing will be sent to the parties of
                                   4   record below by operation of the Court’s electronic filing system and parties may
                                   5   access this filing through the Court’s system.
                                   6

                                   7   DATED: October 15, 2020
                                   8
                                                                               By      /s/ Elvin I. Tabah
                                   9                                                Elvin I. Tabah
                                  10

                                  11
633 W. Fifth Street, Suite 2800




                                  12
   Los Angeles, CA 90071
    YU | MOHANDESI LLP




                                  13

                                  14

                                  15

                                  16

                                  17

                                  18

                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26

                                  27

                                  28
                                                                                —1—
                                                                        CERTIFICATE OF SERVICE
